          Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 1 of 10




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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

NEZPERCE AG, INC., an Idaho Corporation,              )
                                                      )    Case No. CV 3:20-CV-00494-DNC
                        Plaintiff,                    )
                                                      )
vs.                                                   )    PLAINTIFF’S SECOND
                                                      )    AMENDED DISCLOSURE OF
NUTRIEN AG SOLUTIONS, INC., a                         )    EXPERT WITNESSES
Delaware corporation, LOVELAND                        )
PRODUCTS INC., a Colorado corporation, &              )
JOHN DOES 1-3,                                        )
                                                      )
                        Defendants.                   )
                                                      )

        COMES NOW Plaintiff Nezperce Ag, Inc., by and through its undersigned counsel of record

Paul Thomas Clark of the law firm Clark and Feeney, LLP and pursuant to the Federal Rules of

Civil Procedure 26(a)(2)(A), 26(e)(1)(A) and District of Idaho Local Civil Rule 26.2, supplements

the following information regarding Plaintiff’s expert witnesses.   Notably, none of the following

expert witnesses have been retained by Plaintiff.    As such, this supplement is limited to the

requirements under Federal Rules of Civil Procedure 26(a)(2)(C), and does not include a written

report by each respective expert witness.



PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -1-
          Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 2 of 10




Victor Li
Director of Analytical Services
Stillmeadow, Inc.
12852 Park One Drive
Sugar Land, Texas 77478
(281) 240-8828

•       A complete statement of Victor Li's opinions formulated to date were previously provided
        his report (NP Ag 000005 to NP Ag 000038) and expected to be expressed at trial and the
        bases and reasons therefor pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(i).

•       The facts, data or other information considered by Victor Li in forming his opinion pursuant
        to Federal Rule of Civil Procedure 26(a)(2)(B)(ii) are contained in the above referenced
        report.

•       Identification of any exhibits to be used as a summary of or support for Victor Li's opinions
        pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(iii) are contained in the above
        referenced report.

•       Victor Li obtained a Bachelors Degree in Material Science from University of Science and
        Technology of Child and a Masters Degree in Chemistry from University of
        Wisconsin-Madison. Mr. Li has more than 14 years experience in different laboratories
        which include modern instruments and knowledge concerning lab analysis.

•       A list of any other cases in which Victor Li has testified as an expert at trial or by deposition
        within the preceding four years pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(v)
        is being obtained and will be provided upon receipt.

•       A statement of the compensation to be paid for the study and testimony in the case is
        attached hereto.

•       Subject matter on which Mr. Li is expected to present evidence, under Fed. R. Civ. P.
        26(a)(2)(C)(i): Mr. Li is an engineer and chemist e mploye d with StillMeadow
        Incorporated (“StillMeadow”). StillMeadow provides drug development, toxicology,
        animal health, and analytical services, which Plaintiff employed in June 2019 to run
        various lab analyses on the Hat Trick Three Way Herbicide (“the Herbicide”), the
        chemical product that is subject to this litigation. The various lab analyses we re als o
        called “his report” and previously disclosed as NP AG000005 to NP AG 000038. Mr.
        Li is the director of analytical services department at StillMeadow. The subject matter
        he is expected to present evidence will address information pertaining to the lab
        analyses on one of the fields that the Herbicide was applied. Mr. Li’s expe cted
        testimony will also address his knowledge of the scientific method of the lab analysis
        conducted on the Herbicide and the compounds contained in the Herbicide, the

PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -2-
         Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 3 of 10




       reliability of those lab tests, the potential rate of error, and the existence and
       maintenance of standards and controls in the lab analysis.

•      Summary of Mr. Li’s opinions and the facts relevant to those opinions, under Fed. R. Civ.
       P. 26(a)(2)(C)(ii): StillMeadow assessed and confirmed the percentages of active
       ingredients in the Herbicide through lab te s ting. The lab tests analyzed the chemical
       composition and other properties of the Herbicide. Mr. Li’s opinion that the Herbicide
       was not in compliance with the representations made by Defendants (that it would
       adequately protect farmers’ fields from weeds and not suitable for the wheat that the
       Herbicide was used on) is based on the results from those lab tests.

Jeffry Pritchard, CEO
WestLink Ag Cooperative
35 E. Bower Street, Suite A
Meridian, Idaho 83642
(208) 884-0566
jpritchard@westlinkag.net

•      Mr. Pritchard has over thirty (30) years experience in the agricultural inputs space, both US
       and International. Mr. Pritchard assisted the Plaintiff in locating and forwarding the
       chemical samples for testing.

•      Mr. Pritchard has not published any articles and has not testified as an expert witness.

•      It is unknown at this time what Mr. Pritchard's compensation for testimony would be.

•      Subject matter on which Mr. Pritchard is expected to present evidence, under Fed. R. Civ.
       P. 26(a)(2)(C)(i): Mr. Pritchard is expected to present evidence regarding the chain of
       custody of the chemical samples used to analyze the aforemention various lab tests on
       the Herbicide and field.

•      Summary of Mr. Pritchard’s opinions and the facts relevant to those opinions, under Fed.
       R. Civ. P. 26(a)(2)(C)(ii): Mr. Pritchard’s testimony will address the factual
       circumstances under which WestLink Ag Cooperative assisted Plaintiff in locating a
       facility to conduct the various aforementioned lab tests on the Herbicide and field.

Dr. Claudia Geitner
Representative of Sigma-Aldrich
3050 Spruce Street
Saint Louis, MO 63103
techserv@siai.co



PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -3-
        Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 4 of 10




•     A complete statement of Dr. Geitner's opinions formulated to date were previously provided
      her report (NP Ag 000005 to NP Ag 000038) and expected to be expressed at trial and the
      bases and reasons therefor pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(i);

•     The facts, data or other information considered by Dr. Geitner in forming her opinion
      pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(ii) are contained in the above
      referenced report;

•     Identification of any exhibits to be used as a summary of or support for Dr. Geitner's
      opinions pursuant to Federal Rule of Civil Procedure 26(a)(2)(B)(iii) are contained in the
      above referenced report;

•     Dr. Geitner is the Project Manager Operations Strategy Life Science which includes assuring
      clients that the chemical makeup of a product is what is provided on the label. Dr. Geitner
      is also the head of Quality Control of Sigma-Aldrich. Dr. Geitner attended Universitat des
      Saarlandes.

•     A list of any other cases in which Dr. Geitner has testified as an expert at trial or by
      deposition within the preceding four years pursuant to Federal Rule of Civil Procedure
      26(a)(2)(B)(v) will be provided upon receipt.

•     A statement of the compensation to be paid for the study and testimony in the case is
      attached hereto.

•     Subject matter on which Dr. Geitner is expected to present evidence, under Fed. R. Civ.
      P. 26(a)(2)(C)(i): At this time, Counsel understands that Dr. Geitner is the quality
      control manager at Sigma-Aldrich, the company that StillMeadow purchased the
      reference analytical standards for the lab tests conducted on the Herbicide and the
      field. The subject matter Dr. Geitner is expected to present will address those lab tests
      and the method in which those lab tests were conducted. Her scientific knowledge
      regarding the reliability of those lab tests, the potential rate of error, and the existence
      and maintenance of standards and controls in the lab analysis is also expected
      testimony.

•     Summary of Dr. Geitner’s opinions and the facts relevant to those opinions, under Fed.
      R. Civ. P. 26(a)(2)(C)(ii): The lab tests analyzed the chemical composition and othe r
      properties of the Herbicide. The lab also analyzed one of the fields that the Herbicide
      was applie d. Dr. Geitner’s testimony may include information regarding the
      compounds and active ingredients contained in the Herbicide, and how they correlated
      or deviated from the basic Herbicide formula distributed with the product.




PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -4-
        Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 5 of 10




Steve Boyer
Boyer Gromore, Inc.
24676 Garden Gulch Road
Culdesac, Idaho 83524

•     Mr. Boyer has been farming for more than twelve (12) years. Based on Mr. Boyer's years
      of experience as a farmer he is familiar with the crops needs for fertilization, water and the
      yield to be expected. Mr. Boyer is also familiar with the need to weed control, when the
      product should be applied and what the results of said product should be. Mr. Boyer will be
      able to testify the effects of the weed killer not working and what happens to the crops
      yields.

•     Mr. Boyer is qualified based on having more than twelve (12) years in the farming industry.
      It is not common practice for farmers to maintain a curriculum vitae.

•     Mr. Boyer has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. Boyer would be paid for testimony in the case.

Buck Boyer
Boyer Gromore, Inc.
24676 Garden Gulch Road
Culdesac, Idaho 83524

•     Mr. Boyer has been farming for more than twelve (12) years. Based on Mr. Boyer's years
      of experience as a farmer he is familiar with the crops needs for fertilization, water and the
      yield to be expected. Mr. Boyer is also familiar with the need to weed control, when the
      product should be applied and what the results of said product should be. Mr. Boyer will be
      able to testify the effects of the weed killer not working and what happens to the crops
      yields.

•     Mr. Boyer is qualified based on having more than twelve (12) years in the farming industry.
      It is not common practice for farmers to maintain a curriculum vitae.

•     Mr. Boyer has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. Boyer would be paid for testimony in the case.

Kyle Meacham
Meacham Farms
2091 Brannan Road
Nezperce, Idaho 83543


PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -5-
        Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 6 of 10




•     Mr. Meacham has been farming for more than fourteen (14) years. Based on Mr. Meacham's
      years of experience as a farmer he is familiar with the crops needs for planting, fertilization,
      water and the yield to be expected. Mr. Meacham is also familiar with the need for weed
      control, when the product for weed control should be applied and what the results of said
      product should be. Mr. Meacham will be able to testify the effects of the weed killer not
      working and what happens to the crops yields.
•     Mr. Meacham is qualified based on having more than fourteen (14) years in the farming
      industry. It is not common practice for farmers to maintain a curriculum vitae.

•     Mr. Meacham has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. Meacham would be paid for testimony in the case.

Karen Meacham
77 Ranch
2091 Brannan Road
Nezperce, Idaho 83543

•     Ms. Meacham has been farming for more than twenty-three (23) years. Based on Ms.
      Meacham's years of experience as a farmer she is familiar with the crops needs for planting,
      fertilization, water and the yield to be expected. Ms. Meacham is also familiar with the need
      for weed control, when the product for weed control should be applied and what the results
      of said product should be. Ms. Meacham will be able to testify the effects of the weed killer
      not working and what happens to the crops yields.

•     Ms. Meacham is qualified based on having more than twenty-three (23) years in the farming
      industry. It is not common practice for farmers to maintain a curriculum vitae.

•     Ms. Meacham has not testified as an expert witness or published any articles.

•     It is unknown at this time what Ms. Meacham would be paid for testimony in the case.

Greg Branson
Branson Farms
2590 Branson Road
Nezperce, Idaho 83543

•     Mr. Branson has been farming for more than seventeen (17) years. Based on Mr. Branson's
      years of experience as a farmer he is familiar with the crops needs for fertilization, water and
      the yield to be expected. Mr. Branson is also familiar with the need to weed control, when
      the product should be applied and what the results of said product should be. Mr. Branson
      will be able to testify the effects of the weed killer not working and what happens to the
      crops yields.

PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -6-
        Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 7 of 10




•     Mr. Branson is qualified based on having more than seventeen (17) years in the farming
      industry. It is not common practice for farmers to maintain a curriculum vitae.

•     Mr. Branson has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. Branson would be paid for testimony in the case.

Justin McCleod
McCleod LLC
2825 Hwy 64
Nezperce, Idaho 83543

•     Mr. McCleod has been involved in the family farm which has been handed down and
      operating for the past two generation. Based on Mr. McCleod's years of experience as a
      farmer he is familiar with the crops needs for fertilization, water and the yield to be
      expected. Mr. McCleod is also familiar with the need to weed control, when the product
      should be applied and what the results of said product should be. Mr. McCleod will be able
      to testify the effects of the weed killer not working and what happens to the crops yields.

•     Mr. McCleod is qualified based on having several years in the farming industry. It is not
      common practice for farmers to maintain a curriculum vitae.

•     Mr. McCleod has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. McCleod would be paid for testimony in the case.

Steve Boye r, Buck Boyer, Kyle Meacham, Karen Meacham, Greg Branson, and Justin
McCleod are collectively referred to as “the Farmers.”

•     Subject matter on which the Farmers are expected to present evidence, under Fed. R. Civ.
      P. 26(a)(2)(C)(i): This group of experts have all been long term customer of Plaintiff
      and have used the Herbicide on their fields for numerous growing seasons.
      Confirmation of the Farmers various orders can be views at NP Ag 000059 - NP Ag
      000066. They also all have decades of experie nce in the agriculture and farming
      industry, and us e on their fields of the Herbicide. For instance, the Boyer’s family
      farms has used the Herbicide for over 21 years, and purchased and applied over 10,000
      gallons of the Herbicide onto their grower’s field.

      The Farmers are expected to testify on the factual circumstances regarding the historic
      use of the Herbicide on the ir fields by applying the Herbicide to crops such as Blue
      Grass, Winter Wheat, Barley and Spring Wheat, the characteristics of crop growth,
      and the expected res ults from using the Herbicide to combat weeds. They are also

PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -7-
         Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 8 of 10




       expected to testify to the numerous crop and fie ld problems in 2018/2019 after the
       Herbicide was used on their fields. All the listed Farmers had the s ame historic
       experience with the Herbicide.

•      Summary of the farmer’s opinions and the facts relevant to those opinions, under Fed. R.
       Civ. P. 26(a)(2)(C)(ii): The Farmers are expected to testify regarding the factual
       circumstance of who, when, where, how, and why the Herbicide was applied to their
       fields, and that the Herbicide’s application did not deviate from previous growing
       seasons, and that no other variations were made to result in weeds not dying and
       minimal crop yield. The necessity of weed control, and other farming practices is also
       expected testimony. It is the Farmers ’ practice to inspect the fields prior to applying
       the Herbicide to determine the rate of the chemical needed to be applied based on the
       type and size of the weeds that are growing in the fields. A few days after the
       Herbicides application the Farmers will inspect the fields again to check for weed
       control success based on the Herbicide’s intended purpose.

Gene Harris
Employee of Nezperce Ag, Inc.
PO Box 24
Nezperce, Idaho 83543

•      Mr. Harris has been employed by Nezperce Ag, Inc. for approximately thirteen (13) years.
       Mr. Harris is responsible for applying the weed control chemicals to the local farmers who
       contract with Nezperce Ag, Inc. for assistance in weed control. Mr. Harris is experienced
       in applying the weed killer.

•      Mr. Harris is qualified based on having more than thirteen (13) years experience in applying
       weed control chemicals to crops. It is not common practice for farmers to maintain a
       curriculum vitae.

•      Mr. Harris has not testified as an expert witness or published any articles.

•      It is unknown at this time what Mr. Harris would be paid for testimony in the case.

•      Subject matter on which Mr. Harris is expected to present evidence, under Fed. R. Civ. P.
       26(a)(2)(C)(i): Mr. Harris is expected to present evidence regarding his numerous years
       spraying farms in Idaho since September 2008. He is expected to testify to the method
       in which crop fields are sprayed with the Herbicide, and what is typically expected
       after application of the Herbicide (based on his numerous years as a sprayer), and how
       the growing season of 2018/2019 varied from previous growing seasons. Mr. Harris
       prepares the He rbicide, under Mr. Barnett’s supervision and direction, in accordance
       with the directions on the label based on the rate of chemical from the type and size of
       weed needing to be controlled.

PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -8-
        Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 9 of 10




•     Summary of Mr. Harris’s opinions and the facts relevant to those opinions, under Fed.
      R. Civ. P. 26(a)(2)(C)(ii): Mr. Harris is expected to testify on the factual circumstances
      regarding the historic application of the Herbicide on various fields throughout his
      thirteen years of employment with Plaintiff, the characteristics of crop growth, and the
      expected results from using the Herbicide to combat weeds. Mr. Harris is expected to
      present evidence regarding the Herbicide’s application to farming fields and that it did
      not deviate from previous growing seasons, and that no other variations were made to
      result in weeds not dying and minimal crop yield. He is also expected to testify to the
      numerous crop and field problems in 2018/2019 afte r the He rbicide was used on the
      various fields. Mr. Harris has sprayed hundreds of acres containing crops such as Blue
      Grass, Winter Wheat, Barley and Spring Wheat. Mr. Harris is familiar with the label
      on the Herbicide and can testify to the instructions on mixing the Herbicide in the
      appropriate rate for needed weed control.

Pat Barnett
Owner/Employee of Nezperce Ag, Inc.
PO Box 24
Nezperce, Idaho 83543

•     Mr. Barnett started Nezperce Ag, Inc. in 1999. Prior to starting his own business he
      worked for The McGregor Company for approximately eleven (11) years. Mr. Barnett
      is responsible for determining the rate of the weed control chemicals needing to be
      applie d to a field to the local farmers who contract with Nezperce Ag, Inc. for
      assistance in weed control. Mr. Barnett is experienced in determining the rate of the
      weed killer needed for weed control.

•     Mr. Barnett is qualified based on having more than thirty-four (34) years experience
      in determining the rate of weed control chemicals needing to be applied to crops. It is
      not common practice for farmers to maintain a curriculum vitae.

•     Mr. Barnett has not testified as an expert witness or published any articles.

•     It is unknown at this time what Mr. Barnett would be paid for testimony in the case.

•     Subject matter on which Mr. Barnett is expected to present evidence, under Fed. R. Civ.
      P. 26(a)(2)(C)(i): Mr. Barnett is expected to present evidence regarding his numerous
      years determining the rate of chemical needed for weed control on farms in Idaho since
      1998. He is expected to testify regarding the method in which he would determine the
      rate of Herbicide needed, according to the Herbicide label. He is expe cte d to testify
      regarding what is typically expected after application of the Herbicide (based on his
      numerous ye ars fieldhand and plant manager), and how the growing season of
      2018/2019 varied from previous growing seasons.

PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -9-
           Case 3:20-cv-00494-SM Document 47 Filed 02/07/22 Page 10 of 10




•        Summary of Mr. Barnett’s opinions and the facts relevant to those opinions, under Fed.
         R. Civ. P. 26(a)(2)(C)(ii): Mr. Barnett is expected to testify on the factual circumstances
         regarding the historic application of the Herbicide on various fields throughout his
         twenty-three years of employme nt with Plaintiff, the characteristics of crop growth,
         and the expected results from using the Herbicide to combat weeds. Mr. Barnett is
         expected to present evidence regarding the Herbicide’s application to farming fields
         and that it did not deviate from previous growing seasons, and that no other variations
         were made to result in weeds not dying and minimal crop yield. Mr. Barnett can
         explain which crops the Herbicide was applie d to such as Blue Grass, Winter Wheat,
         Barle y and Spring Wheat. He is expected to further present evidence on how to
         determine the rate of chemical needed based on the type and size of weeds needing to
         be controlled from growing in the fields. He is also expected to testify to the numerous
         crop and field problems in 2018/2019 after the Herbicide was used on the various fields.
         Mr. Barnett is familiar with the label on Hat Trick and can testify to how to properly
         mix the chemical for the expected results based on the claims of the product.

         DATED this 7th day of February, 2022.

                                       CLARK AND FEENEY, LLP

                                       By: /s/ Paul Thomas Clark
                                             Paul Thomas Clark
                                             Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 7th February, 2022, I caused to be served a true and correct copy
of the foregoing document by the method indicated below, and addressed to the following:

    Benjamin A. Schwartzman                         Electronic Delivery
    Nicholas A. Warden

                                       By:       /s/ Paul Thomas Clark
                                       Attorney for Plaintiff




PLAINTIFFS’ SECOND AMENDED DISCLOSURE OF EXPERT WITNESSES -10-
